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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

          Plaintiff,
                                                        Case No. 10-20235
 v.
                                                        HONORABLE DENISE PAGE HOOD
 ALEXIS RODGERS (D-5),

       Defendant.
 _____________________________________/


      ORDER DENYING THIRD MOTION FOR RECONSIDERATION OF COURT’S
       ORDER DENYING MOTION FOR REVOCATION OF DETENTION ORDER


          The matter is before the Court on Defendant Alexis Rodgers’ third Motion for

 Reconsideration of the Court’s January 13, 2011 Order Denying Motion for Revocation of Detention

 Order.

          As noted by the Court in its previous orders, motions in criminal cases are governed by Local

 Rule 7.1 of the Local Rules of the Eastern District of Michigan governing motions in civil cases.

 LCrR 12.1(a). Local Rule 7.1 provides that any motion for reconsideration must be filed within 14

 days after entry of the judgment or order. E.D. Mich. LR 7.1(h)(1). No response to the motion and

 no oral argument thereon shall be allowed unless the Court Orders otherwise. E.D. Mich. LR

 7.1(h)(2). The Local Rule further states:

                  (3) Grounds. Generally, and without restricting the court’s
                  discretion, the court will not grant motions for rehearing or
                  reconsideration that merely present the same issues ruled upon by the
                  court, either expressly or by reasonable implication. The movant
                  must not only demonstrate a palpable defect by which the court and
                  the parties and other persons entitled to be heard on the motion have
                  been misled but also show that correcting the defect will result in a
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                 different disposition of the case.

 E.D. Mich. LR 7.1(h)(3). A motion for reconsideration is not a vehicle to re-hash old arguments,

 or to proffer new arguments or evidence that the movant could have brought up earlier. Sault Ste.

 Marie Tribe v. Engler, 146 F.3d 367, 374 (6th Cir. 1998)(motions under Fed.R.Civ.P. 59(e) “are

 aimed at re consideration, not initial consideration”)(citing FDIC v. World Universal Inc., 978 F.2d

 10, 16 (1st Cir.1992)).

         The Local Rules do not provide that a party is allowed to file multiple motions for

 reconsideration of an order. Even if the Court had the authority to consider subsequent motions for

 reconsideration, Rodgers’ third Motion for Reconsideration presents no new argument to rebut the

 presumption of detention. Rodgers also asserts that the present motion raise issues that have not

 been fully addressed and presented to the Court. As noted by the Sixth Circuit, a motion for

 reconsideration is not a vehicle to proffer new arguments or evidence which the movant could have

 raised at the hearing. Sault Ste. Marie, 146 F.3d at 374. An evidentiary hearing was held on

 Rodgers’ initial motion. The Court later allowed Rodgers to supplement his motion. The time to

 proffer evidence to support his motion was during the evidentiary hearing. Rodgers’ counsel cross-

 examined the witnesses presented by the Government. Rodgers’ third Motion for Reconsideration

 merely presents the same issues ruled upon by the Court, either expressly or by reasonable

 implication. Rodgers has failed to demonstrate a palpable defect by which the Court and the parties

 and other persons entitled to be heard on the motion have been misled. Rodgers has failed to show

 that correcting the defect will result in a different disposition of the case.

         Accordingly,




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        IT IS ORDERED that Defendant Alexis Rodgers’ third Motion for Reconsideration (No.

 156, filed April 8, 2011) is DENIED.




                                             s/Denise Page Hood
                                             United States District Judge

 Dated: July 14, 2011

 I hereby certify that a copy of the foregoing document was served upon counsel of record on July
 14, 2011, by electronic and/or ordinary mail.

                                             s/LaShawn R. Saulsberry
                                             Case Manager




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